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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

BOARD OF TRUSTEES OF THE SAN MATEO
HOTEL EMPLOYEES, et al.,

NO. C 10 2814 EDL

ORDER TO CONTINUE CASE
MANAGEMENT CONFERENCE

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Plaintiffs,

LADY LUCK GOURMET LLC, etC.,

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vs. )
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Defendant. )
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IT IS ORDERED that the Case Management Conferen§§ in this
'00 pm
case set for April 5, 2011 continued to June 14, 2011 at LQ+GG-a-m.

in Courtroom E, 15th Floor, San Francisco, CA. /\p qn: Ch)€'n&u4“jxl“u*
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Dated= D\_&Ll;~(?laz\££m /QMM\ 0 ,

gistrate Judge
Elizabeth D. Laporte

 

ORDER TO CONTINUE CASE ‘MANAGEMENT CONE`ERENCE

 

